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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   MEMPHIS DIVISION


JOSEPHINE BENSON,

   Plaintiff,

-vs-                                            CASE NO.: 2:18-cv-02874-MSN-cgc

OCWEN LOAN SERVICING, LLC,

   Defendant.
                                       /

                         JOINT MOTION TO STAY PROCEEDINGS

       COME NOW, Plaintiff, Josephine Benson and Defendant, Ocwen Loan Servicing, LLC,

by and through their undersigned counsel, and hereby file this Joint Motion to Stay Proceedings

and in support thereof, state as follows:

        1.      Currently, the undersigned law firm for Plaintiff, Morgan & Morgan, Tampa,

P.A., and the Defendant, Ocwen Loan Servicing, LLC, have twenty (20) cases pending in the

U.S. District Court for the Southern District of Florida which were recently transferred to the

Honorable Judge Robin L. Rosenberg for pre-trial purposes.

        2.      A significant legal issue in this case and the cases before Judge Rosenberg

concerns whether the calls alleged by Plaintiff were made with an “automatic telephone dialing

system” as defined by the Telephone Consumer Protection Act.          The law concerning the

definition of an ATDS is unsettled after the decision of the D.C. Circuit Court of Appeals in

ACA Int’l v. FCC, 885 F.3d 687 (2018).
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         3.     In light of the uncertainty concerning the definition of an ATDS, Judge

Rosenberg has stayed the cases before her for a period of six (6) months “pending forthcoming

guidance from the FCC” pertaining to the ATDS definition.              See, Evans v. Ocwen Loan

Servicing, LLC, 9:18-cv-81394-RLR (SDFL), at DE 14.             The parties believe that this case

similarly should be stayed for six (6) months to allow time for the FCC to issue additional

guidance with regard to its definition of an ATDS, so that the parties are not spending time

briefing, and the Court is not spending time deciding, motions based on law which may change

significantly in the near future.

         4.     In addition, the parties have agreed to mediate this case and the cases before

Judge Rosenberg. The parties therefore seek to stay this litigation so they may focus their time

and resources on potentially resolving all claims in mediation and without further burdening the

Court.

         5.     Morgan & Morgan and Ocwen intend to file identical Motions to stay in other

pending cases: Gonzalez v Ocwen Loan Servicing, LLC, 5:18-cv-00340, before Judge Moody

(MDFL), and Boyer v Ocwen Loan Servicing, LLC, 6:18-cv-01676, before Judge Byron

(MDFL).

         6.     Therefore, the parties respectfully request that this Court stay all proceedings until

July 12, 2019, at which time the parties shall file a Joint Notice respecting the status of the

FCC’s deliberations.

         7.     This Motion is made in good faith and not for the purpose of delay.




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   WHEREFORE, the parties respectfully request this Honorable Court enter an Order granting

this Joint Motion to Stay Proceedings and stay this case for a period of six (6) months pending

the FCC’s issuance of additional guidance regarding the definition of an ATDS.

   Dated: January 23, 2019

Respectfully submitted,

/s/Frank H. Kerney, III, Esquire                    /s/Adam C. Ragan, Esquire
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Counsel for Plaintiff

                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Adam C. Ragan, Esquire,

Hunter Andrews Kurth, LLP, 1445 Ross Avenue, Suite 3700, Dallas, Texas 75202

(aragan@hunton.com).

                                              /s/Frank H. Kerney, III, Esquire
                                              Frank H. Kerney, III, Esquire
                                              Counsel for Plaintiff




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